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                                                                                FORM 13

                 UNITED STATES COURT OF INTERNATIONAL TRADE
                                 One Federal Plaza
                            New York, New York 10278

    DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

                                     Matthew R. Nicely
This notification is submitted by_________________________________________________
                                                       (Name of attorney of record)
on behalf of _______________________________________________________________in the
               Metroflor Corporation
matter of _________________________________________
           HMTX Industries LLC, et al.                   v.__________________________,
                                                            United States of America, et al.
Court No. ___________________.
            20-00177


1. If this statement is submitted on behalf of a corporate party, that entity shall identify below all of
its publicly-owned companies, any publicly-held company that has a 10% or greater ownership
interest in the entity, and any publicly-owned affiliate of the entity, and describe the relationship
between the party and each identified company.
___________________________________________________________________________
 N/A
___________________________________________________________________________
___________________________________________________________________________

2. Indicate whether the party on whose behalf this Form is being filed is[ ] or is not [ ] the real party
in interest. If not, identify below the real party in interest.
___________________________________________________________________________
N/A
___________________________________________________________________________
___________________________________________________________________________

3. If this statement is submitted on behalf of a trade association, identify below each publicly-owned
member of the trade association. (Attach additional pages if necessary.)
___________________________________________________________________________
N/A
___________________________________________________________________________
___________________________________________________________________________




/s/ Matthew R. Nicely
________________________________                         September 10, 2020
                                                        __________________________________
   (Signature of Attorney)                                     (Date)

                                        SEE REVERSE SIDE

(Added Nov. 4, 1981, eff. Jan. 1, 1982; as amended Dec. 18, 2001, eff. Apr.1, 2002; Sept. 28, 2004, eff.
January 1, 2005.)
